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13   Attorneys for Plaintiff and the alleged Classes
14
                         UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                            WESTERN DIVISION

17    Edwardo Munoz, individually and on
      behalf of all others similarly situated,
18
                                Plaintiff,       Case No. 2:18-cv-03893-RGK-AGR
19
            v.
20
      7-Eleven, Inc., a Texas corporation,        NOTICE OF MOTION
21                                                APPROVAL OF PLAINTIFF’S
22
                                  Defendant.      PROPOSED NOTICE PLAN

23                                                Date: February 11, 2019
24                                                Time: 9:00 a.m.
                                                  Judge: Hon. R. Gary Klausner
25                                                Courtroom: 850
26                                                Complaint Filed: May 15, 2018

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 1         PLEASE TAKE NOTICE that on February 11, 2019 at 9:00 a.m. at the
 2   United States District Court for the Central District of California, Plaintiff Edwardo
 3   Munoz (“Plaintiff” or “Munoz”) will and hereby do move before the Honorable R.
 4   Gary Klausner for an order approving Plaintiff’s plan for disseminating notice to
 5   the certified Class.
 6         The Motion is based on this Notice and Motion, the supporting Proposed
 7   Notice Plan, and exhibits attached thereto.
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 9                                              Respectfully submitted,
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11
     Dated: January 10, 2018                    Edwardo Munoz, individually and on behalf
                                                of all others similarly situated,
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13                                     By:       /s/ Patrick H. Peluso
                                                One of Plaintiff’s Attorneys
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                               Notice of Motion for Approval of Notice Plan
28                                                 -2-
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 1
                             CERTIFICATE OF SERVICE
 2
           The undersigned hereby certifies that a true and correct copy of the above
 3
     titled document was served upon counsel of record by filing such papers via the
 4
     Court’s ECF system on January 10, 2018.
 5
                                                        /s/ Patrick H. Peluso
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                              Notice of Motion for Approval of Notice Plan
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